U.S. Department of Justice

Federal Bureau of Investigation

In Reply, Please Refer to
File No. Charlotte, North Carolina

910
October 3, 2012

Special Operations Command -Central

Attention: LCDR Jeffery G. Transtrom
RE: 1208 Documents

Dear LCDR Transtrom::

As part of an on-going joint federal investigation based out of the Federal Bureau of
Investigation’s (FBI) Fayetteville Resident Agency, Fayetteville, North Carolina (NC), the FBI
formally requests copies of all documentation, including appointment orders, as they relate to
1208 funds as follows:

1) Funds assigned to Operational Detachment Alpha (ODA) 3323 assigned at FOB
Fenty , Jalalabad, Afghanistan under the control of Sergeant First Class (SFC) Barry
Walls during the periods of approximately July, 2009 to February, 2010 and from
July, 2010 to December, 2010.

2) Funds assigned to ODA 3323 under the control of Master Sergeant Robert Scott
Farmer during the periods of August, 2008 to January, 2009 (he may have inherited
responsibility from another soldier in November, 2008) and then again from January,
2010 to July, 2010.

Other soldiers, not yet identified, could have been assigned as Field Ordering Officers
(FOO) on these same funds. They could include SFC Cleo Autry, SFC Todd Chamberlain, J

Documents should include but are not limited to appointment orders, DD 1081s, SF-44s
and SF1034s.

These documents can be provided to a representative of the International Contract
Corruption Task Force (ICCTF). Current POC in Afghanistan is Special Agent Steven Carter,
FBI.

Case 5:14-cr-00128-FL Document 368-2 Filed 09/27/18 ibagechiments - 0010
This request is made as part of an investigation into the theft of 1208 funds by Special
Forces soldiers from the 3" Special Forces Group. GEE the sensitive nature of
GE but documentation is required for a successful investigation.

Sincerely,

M. Chris Briese
Special Agent in Charge

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By: Keith H. Bethke, Jr
SSRA

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Case 5:14-cr-00128-FL Document 368-2 Filed 09/27/18 shageceniinds - 0011
